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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                   MONROE DIVISION

  UNITED STATES OF AMERICA                          *     CRIMINAL NO. 06-30043-07


  VERSUS                                            *     JUDGE JAMES


  BRYANT L. NEWTON                                  *     MAGISTRATE JUDGE HAYES


                   REPORT AND RECOMMENDATION ON
    FELONY GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE


        Pursuant to Title 28, United States Code, Section 636(b), and with the written and oral

 consent of the defendant, this matter has been referred by the District Court for administration of

 Guilty Plea, and Allocution under Rule 11 of the Federal Rules of Criminal Procedure.

        This cause came before the undersigned U. S. Magistrate Judge for a change of plea hearing

 and allocution of the defendant, Bryant L. Newton, on January 30, 2007. Defendant was present

 with his counsel, Mr. Cameron Murray.

        After said hearing, and for reasons orally assigned, it is the finding of the undersigned that

 the defendant is fully competent, that his plea of guilty is knowing and voluntary, and his guilty plea

 to Count Sixteen of the superceding indictment is fully supported by an oral factual basis for each

 of the essential elements of the offense. Therefore the undersigned U. S. Magistrate Judge

 recommends that the District Court ACCEPT the guilty plea of the defendant, Bryant L. Newton,

 in accordance with the terms of the plea agreement filed in the record of these proceedings, and that

 Bryant L. Newton be finally adjudged guilty of the offense charged in Count Sixteen of the

 Superceding Indictment.
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         Under the provisions of 28 U.S.C. §636(b)(1)(C) and F.R.C.P. Rule 72(b), the parties have

 ten (10) business days from service of this Report and Recommendation to file specific, written

 objections with the Clerk of Court. A party may respond to another party’s objections within ten

 (10) business days after being served with a copy thereof. A courtesy copy of any objection or

 response or request for extension of time shall be furnished to the District Judge at the time of filing.

 Timely objections will be considered by the District Judge before he makes a final ruling.

         A PARTY’S FAILURE TO FILE WRITTEN OBJECTIONS TO THE PROPOSED

 FINDINGS, CONCLUSIONS AND RECOMMENDATIONS CONTAINED IN THIS

 REPORT WITHIN TEN (10) BUSINESS DAYS FROM THE DATE OF ITS SERVICE

 SHALL BAR AN AGGRIEVED PARTY, EXCEPT ON GROUNDS OF PLAIN ERROR,

 FROM ATTACKING ON APPEAL THE UNOBJECTED-TO PROPOSED FACTUAL

 FINDINGS AND LEGAL CONCLUSIONS ACCEPTED BY THE DISTRICT JUDGE.

         THUS DONE AND SIGNED at Monroe, Louisiana, this 30th day of January, 2007.
